Case: 1:17-md-02804-DAP Doc #: 2262 Filed: 08/13/19 1 of 5. PageID #: 356874




                        PD4 Exh 8
Case: 1:17-md-02804-DAP Doc #: 2262 Filed: 08/13/19 2 of 5. PageID #: 356875
Case: 1:17-md-02804-DAP Doc #: 2262 Filed: 08/13/19 3 of 5. PageID #: 356876
Case: 1:17-md-02804-DAP Doc #: 2262 Filed: 08/13/19 4 of 5. PageID #: 356877
Case: 1:17-md-02804-DAP Doc #: 2262 Filed: 08/13/19 5 of 5. PageID #: 356878
